






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00128-CV






Gilbert Gomez, Appellant


v.


Texas Education Agency, Educator Certification and Standards Division,

and Robert Scott, Commissioner of Education, in his Official Capacity, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. D-1-GN-09-000309, HONORABLE GISELA D. TRIANA-DOYAL, JUDGE PRESIDING





O P I N I O N


		Gilbert Gomez appeals the district court's judgment affirming the final order of the State
Board for Educator Certification (the Board), which revoked his Texas Educator Certificate. (1)  The
Board ordered the certificate revocation after determining that Gomez was "unworthy to instruct or
supervise the youth of the state" under its rules.  In three issues, Gomez contends that the district court
erred by affirming the Board's final order.  We will affirm the district court's judgment because we find
no error in the Board's final order.



STATEMENT OF FACTS

		On August 7, 2003, Sergeant Joe Cavazos, an officer for the Texas Alcoholic Beverage
Commission, was conducting an inspection at a bar in McAllen, Texas, known as Graham Central
Station. (2)  Around midnight, a female patron approached Sergeant Cavazos to report that she had
observed a male standing by the dance floor with his penis outside his pants.  When Sergeant Cavazos
approached the dance floor, he saw a male about ten to fifteen feet from the dance floor holding
his&nbsp;penis in his hand and staring at the dancers as he rubbed himself.  Sergeant Cavazos immediately
grabbed the male and took him outside the nightclub.  When Sergeant Cavazos approached him to take
him outside, the male said "wait, wait" and tried to zip his pants up.  Sergeant Cavazos identified the
male as Gomez because Gomez provided his Texas driver's license to Sergeant Cavazos.  As a result
of this incident, Gomez was arrested and charged with indecent exposure.  Sometime later, the charges
were dismissed.  Gomez was never convicted of a crime and his arrest records were later expunged.

		Gomez held an active Texas Educator Certification at the time of the incident and was
employed by Donna Independent School District during the 2003-2004 school year.  In October 2006,
the Board filed a petition against Gomez with the State Office of Administrative Hearings (SOAH),
alleging that Gomez's conduct at the nightclub indicated that "he is a person unworthy to instruct
or&nbsp;supervise the youth of the State of Texas" and seeking the permanent revocation of his
educator&nbsp;certificate.  See 19 Tex. Admin. Code §&nbsp;249.15 (2011) (State Bd. for Educator Certification,
Disciplinary Action by State Bd. for Educator Certification). (3)  The case went to an administrative law
judge (ALJ) for a contested-case hearing.  Before the hearing, Gomez filed a motion for no-evidence
summary disposition, arguing that because his arrest record had been expunged, the Board could
not&nbsp;produce any evidence in support of its claim because the expunction order and the code of
criminal&nbsp;procedure prohibited the Board from using any records or files concerning Gomez's arrest. 
See Tex.&nbsp;Code Crim. Proc. Ann. §&nbsp;55.03 (West 2006).  The Board responded that Sergeant Cavazos
was&nbsp;an eyewitness and that his testimony about the incident was not prohibited, only the use of any
arrest records.  The ALJ denied Gomez's motion, but noted that "the ALJ will not allow any witness
to testify at the hearing based on expunged records as opposed to the witness's independent recollection
of events."

		The ALJ conducted a one-day evidentiary hearing.  At the contested-case hearing, Gomez
sought a ruling on his motion to exclude Sergeant Cavazos's testimony, urging that the testimony
would&nbsp;be derived from the expunged arrest record.  The Board opposed the motion to exclude evidence,
asserting that Sergeant Cavazos's testimony would be based on his memory as an eyewitness to&nbsp;the
incident.  The ALJ allowed Sergeant Cavazos to testify on the record, but did not admit his testimony
into the record until after the hearing's conclusion.  In the order overruling Gomez's motion to exclude
evidence that was issued after the hearing, the ALJ noted that Sergeant Cavazos testified that he had
not refreshed his memory from the arrest record or any other record subject to the expunction order.

		During the hearing, the Board offered Sergeant Cavazos's testimony, and Gomez offered
his own testimony, along with that of two character witnesses, both educators who had worked in the
Donna Independent School District for many years.  Gomez testified that he did not expose himself,
but&nbsp;admitted that he was at Graham Central Station on August 7, 2003, and was escorted out of
the&nbsp;nightclub by a security person.  Sergeant Cavazos testified to his recollection of the incident as
described above, but upon cross-examination, he admitted that he had been able to recall the date
of&nbsp;the&nbsp;incident and Gomez's name only after refreshing his memory by reviewing the Board's petition.

		After the record was closed, the ALJ issued a proposal for decision (PFD) that included
eleven findings of fact and fifteen conclusions of law.  The ALJ concluded that two stated purposes of
the Board's rules are to insure that educators are morally fit and worthy to instruct or supervise the
youth of the state and to enforce the educators' ethics code.  See 19 Tex. Admin. Code §&nbsp;249.5 (2011)
(State Bd. for Educator Certification, Purpose).  The ALJ found that Gomez engaged in the alleged
conduct and "exposed his penis in public with reckless disregard as to whether others could see it and
for purposes of sexual gratification."  The ALJ concluded that Gomez's conduct was an act of moral
turpitude, as defined by the Board's rules, and that an act of moral turpitude can preclude a finding of
good moral character, as defined by the Board's rules.  See 19 Tex. Admin. Code §&nbsp;249.3(19), (25)
(2007), amended 34 Tex. Reg. 3944 (2009), amended 35 Tex. Reg. 11249 (2010) (State Bd. for
Educator Certification, Definitions). (4)  The ALJ concluded, however, that the Board did not have a basis
to impose discipline against Gomez's educator certificate, because she interpreted the Board's definition

 of "unworthy to instruct or to supervise the youth of this state" as including only conduct that violated
chapter 21, subchapter B of the education code, which governs the certification of educators in the
public education system.  See id. §&nbsp;249.3(45) (2007) (State Bd. for Educator Certification, Definitions)
(defining "unworthy to instruct" as "the determination that a person is unfit to hold a certificate under
the [Texas Education Code], Chapter 21, Subchapter B"); see also generally Tex. Educ. Code Ann.
§§&nbsp;21.001-.707 (West 2006 &amp; Supp. 2010).  Under the ALJ's interpretation, before the Board could
revoke an educator certificate, the educator would have to have been convicted of one of the crimes listed
in two code provisions; Gomez had not been convicted of a crime.  See Tex. Educ. Code Ann. §§&nbsp;21.058
(West 2006) (requiring Board to revoke educator certificate held by person convicted of certain
criminal&nbsp;offenses), .060 (West Supp. 2010) (allowing Board to revoke educator certificate if person has
been convicted of certain felony or misdemeanor offenses related to duties and responsibilities of
education profession).

		In its final decision and order, the Board adopted the ALJ's findings of fact in their
entirety and adopted all but two of the ALJ's conclusions of law (numbers 10 and 15).  The Board
rejected these two conclusions of law because it concluded the ALJ did not properly apply or interpret
applicable law, the agency's rules, and prior administrative decisions.  See Tex. Gov't Code Ann.
§&nbsp;2001.058(e)(1) (West 2008) (providing that agency may change ALJ's finding of fact or conclusion
of law or may vacate or modify order issued by ALJ if agency determines that ALJ "did not properly
apply or interpret applicable law, agency rules, . . . or prior administrative decisions").  In their place,
the Board adopted two new conclusions of law.  The first stated that Gomez's conduct described in
findings of fact numbers 6 and 7 "establishes that [Gomez] is unworthy to instruct or supervise the
youth&nbsp;of the state." (5)  The second stated that Gomez's educator certificate should be revoked. (6)  See
19&nbsp;Tex. Admin. Code §&nbsp;249.15(b)(2) (allowing Board to revoke certificate based on satisfactory
evidence that person is unworthy to instruct).  Consequently, the Board ordered Gomez's educator
certificate revoked.

		Gomez sought judicial review of the Board's order in district court.  After a hearing on
the merits, the district court affirmed the Board's final decision and order.  This appeal followed.


DISCUSSION

		Gomez asserts that the district court erred by affirming the Board's final order for three
reasons.  Gomez first argues that the Board acted in excess of its statutory authority, in an arbitrary or
capricious manner, and abused its discretion by rejecting the ALJ's recommendation and revoking his
educator certificate, despite having no basis to impose discipline against him.  In his second issue,
Gomez contends that Sergeant Cavazos's testimony should have been excluded because its admission
violated the expunction order.  Gomez asserts in his third issue that the district court erred by denying
his motion for leave to present additional evidence to the Board.


Standard of review

		The substantial-evidence standard of the Texas Administrative Procedure Act (APA)
governs our review of the Board's final order.  See Tex. Gov't Code Ann. §&nbsp;2001.174 (West 2008). 
The&nbsp;APA requires us to reverse or remand an agency's decision that prejudices the appellant's
substantial rights because the administrative findings, inferences, conclusions, or decisions (1)&nbsp;violate
a constitutional or statutory provision, (2)&nbsp;exceed the agency's statutory authority, (3)&nbsp;were made
through unlawful procedure, (4)&nbsp;are affected by other error of law, (5)&nbsp;are not reasonably supported by
substantial evidence considering the reliable and probative evidence in the record as a whole, or (6) are
arbitrary or capricious or characterized by abuse of discretion or clearly unwarranted exercise of
discretion.  Id. §&nbsp;2001.174(2)(A)-(F).  An agency acts arbitrarily if it makes a decision without regard
for the facts, if it relies on fact findings that are not supported by any evidence, or if there does not
appear to be a rational connection between the facts and the decision.  See City of Waco v. Texas
Comm'n on Envtl. Quality, 346 S.W.3d 781, 819-20 (Tex. App.--Austin 2011, pet. filed).  In other
words, we must remand for arbitrariness if we conclude that the agency has not "'genuinely engaged in
reasoned decision-making.'"  Id. (quoting Starr Cnty. v. Starr Indus. Servs., Inc., 584 S.W.2d 352, 356
(Tex. Civ. App.--Austin 1979, writ ref'd n.r.e.)).  Otherwise, we may affirm the administrative decision
if we are satisfied that "substantial evidence" exists to support it.  Tex. Gov't Code Ann. §&nbsp;2001.174(1).

		The Legislature has charged the Board with regulating the certification process and
standards of conduct for educators and has given it broad discretion to adopt rules for disciplining
educators.  See Tex. Educ. Code Ann. §§&nbsp;21.031 (West 2006), .041 (West Supp. 2010).  When there
is&nbsp;vagueness, ambiguity, or room for policy determinations in a statute or regulation, we generally
defer&nbsp;to the agency's interpretation unless it is "plainly erroneous or&nbsp;inconsistent with the language
of&nbsp;the statute, regulation, or rule."  TGS-NOPEC Geophysical Co. v. Combs, 340 S.W.3d 432, 438
(Tex.&nbsp;2011).  But this deference to the Board's interpretation is not conclusive or unlimited--we defer
only to the extent that the Board's interpretation is reasonable.  See id.  We construe administrative rules
in the same manner as statutes, using traditional principles of statutory construction.  Id.  

		When we construe administrative rules and statutes, our primary objective is to give
effect to the intent of the issuing agency and legislature, "which, when possible, we discern from the
plain meaning of the words chosen."  State v. Shumake, 199 S.W.3d 279, 284 (Tex. 2006) (addressing
statutory construction); see Rodriguez v. Service Lloyds Ins. Co., 997 S.W.2d 248, 254 (Tex. 1999)
(addressing rule construction).  We consider statutes and rules as a whole rather than their isolated
provisions.  TGS-NOPEC, 340 S.W.3d at 438-39.  We presume that the legislature chooses a statute's
language with care, purposefully choosing each word it includes, while purposefully omitting words not
chosen.  Id.  We may consider other factors in ascertaining legislative or administrative intent, including
the law's objective, its history, and the "common law or former statutory provisions" concerning the
same or similar subjects.  Tex. Gov't Code Ann. §&nbsp;311.023(1), (3), (4) (West 2005); see also Shumake,
199 S.W.3d at 284.


Board's interpretation of "unworthy to instruct"

		Gomez's appeal centers on the Board's decision to (1) reject the ALJ's conclusion that
his conduct provided no basis for the Board to discipline him and (2) instead conclude that Gomez's
conduct at the nightclub established that he is "unworthy to instruct" and that his educator certificate
should be revoked.  As defined by title 19, section 249.3(45) of the administrative code, "unworthy to
instruct or to supervise the youth of this state" means "the determination that a person is unfit to hold
a certificate under the [Texas Education Code], Chapter 21, Subchapter B&nbsp;.&nbsp;.&nbsp;.&nbsp;."  Gomez urges that the
ALJ's interpretation of the education code and the definition of "unworthy to instruct"--which would
require that an educator be convicted of one of the crimes listed in two code provisions before his
certificate could be revoked--is correct, and thus, the Board acted in excess of its statutory authority,
in an arbitrary or capricious manner, and abused its discretion because it rejected the ALJ's conclusion.

		Contrary to Gomez's contention, the APA specifically authorizes the Board to:


	change a finding of fact or conclusion of law made by the [ALJ], or [to] vacate or modify
an order issued by the [ALJ], only if the agency determines .&nbsp;.&nbsp;. that the [ALJ] did not
properly apply or interpret applicable law, agency rules, . . . or prior administrative
decisions&nbsp;.&nbsp;.&nbsp;.&nbsp;. The agency shall state in writing the specific reason and legal basis for
a change made under this subsection.


Tex. Gov't Code Ann. § 2001.058(e); see also 19 Tex. Admin. Code §&nbsp;249.39 (2011) (State Bd. for
Educator Certification, Final Decisions and Orders) (memorializing Board's ability to adopt order
modifying findings of fact or conclusions of law in PFD submitted by ALJ in accordance with APA). 
The Board complied with section 2001.058(e) by explaining in its final order the reasons and legal
basis&nbsp;for its rejection of the ALJ's conclusions.  In the order, the Board explained that it interprets the
phrase "the determination that a person is unfit to hold a certificate under the [Texas Education Code],
Chapter 21, Subchapter B" as merely referring to the certification that the person is unworthy to hold,
not as requiring a finding that the person violated chapter 21, subchapter B.  The Board found that the
ALJ did not properly interpret the definition of "unworthy to instruct" because her recommendation
was&nbsp;inconsistent with prior administrative decisions, which did not require the Board to identify a
subchapter&nbsp;B violation (i.e., an enumerated criminal conviction) to make an "unworthy to instruct"
determination, and with applicable case law interpreting the meaning of "unworthy to instruct."  See
Marrs v. Matthews, 270 S.W. 586, 588 (Tex. Civ. App.--Texarkana 1925, writ ref'd) (holding
legislature's intent in providing authority to revoke certificate of educator found "unworthy to instruct"
was to exclude educators found morally unfit).  Following its own interpretation of the statute and its
rules, the Board determined that the ALJ's conclusions that Gomez's conduct was an act of "moral
turpitude" sufficient to preclude a finding of "good moral character" (as those terms are defined by
the&nbsp;Board's rules) provided a sufficient basis to conclude that Gomez was "unworthy to instruct."  See
19&nbsp;Tex. Admin. Code §§&nbsp;249.3(19), (25), (45), .15.

		The Board's interpretation of the definition of "unworthy to instruct" is at the heart of&nbsp;the
parties' dispute.  The phrase "unfit to hold a certificate under the [Texas Education Code], Chapter&nbsp;21,
Subchapter B" is ambiguous and leaves room for policy determinations by the Board about the interplay
between the "unworthy to instruct" definition and chapter 21, subchapter B of the education code. 
Therefore, the question before us is not whether the ALJ's interpretation of the definition and the statute
is reasonable; it is whether the Board's interpretation is reasonable and does not contradict the plain
language of either the rule or the statute.  See Dodd v. Meno, 870 S.W.2d 4, 7 (Tex. 1994); see also
Poole v. Karnack Indep. Sch. Dist., 344 S.W.3d 440, 444 (Tex. App.--Austin 2011, no pet.) (finding
agency's interpretation of statute reasonable when statute did not impose deadline for requesting assault
leave and agency required leave request to be made within reasonable time of alleged assault).

		The Board noted in its final order that the "unworthy to instruct" phrase has been part
of educator-certification law since 1925.  See Marrs, 270 S.W. at 588.  In Marrs, the court considered
whether the term "unworthy to instruct" was too vague to define a disqualification to hold a teacher's
certificate and determined that it was not.  Id.  The court stated that "unworthy" in this context means
"the absence of those moral and mental qualities which are required to enable one to render the
service&nbsp;essential to the accomplishment of the object which the law has in view" and imputes "moral
delinquency to a degree of unfitness for the work at hand."  Id.  The court noted that while differences
of opinion might exist about what qualities of character render someone unworthy to instruct, there can
be no disagreement that an unworthy person should not be allowed to teach.  Id.  The court concluded
that the legislature necessarily left the unworthiness determination to the Board because it would be too
difficult to enumerate those qualities and would render the statute "incomplete, or so inflexible as to
defeat the ends sought."  Id.

		A review of the education code's relevant parts and the history of the rule's definition
of "unworthy to instruct" shows that the Board's interpretation is reasonable.  Title 2, subtitle D,
chapter&nbsp;21 of the education code regulates educators in the public education system.  See generally
Tex.&nbsp;Educ. Code Ann. §§&nbsp;21.001-.707.  In subchapter A, the education code provides that "[a] person
may not be employed as a teacher&nbsp;.&nbsp;.&nbsp;.&nbsp;by a school district unless the person holds an appropriate
certificate or permit issued as provided by Subchapter B."  Id. §&nbsp;21.003(a) (West Supp. 2010). 
Subchapter B of chapter 21 concerns the certification of educators and establishes the Board's structure,
powers, and duties, including its mandate to propose rules providing "for the regulation of educators and
the general administration of this subchapter," "for disciplinary proceedings, including the suspension
or revocation of an educator certificate, as provided by Chapter 2001, Government Code," and "for the
adoption, amendment, and enforcement of an educator's code of ethics."  Id. §§&nbsp;21.031, .033, .040
(West 2006), .041(b)(1), (7), (8); see generally id. §§&nbsp;21.031-.060.  Nothing in subchapter B limits the
Board's authority to revoke a certificate or find that a person is "unworthy to instruct" to only a situation
in which the person has been convicted of the offenses listed in sections 21.058 and 21.060.  Limiting
the Board's authority in this manner would render superfluous the provision mandating that the
Board&nbsp;propose rules for revoking an educator certificate. (7)  See Tex. Gov't Code Ann. §&nbsp;311.021(2)
(West 2005) (presumption is that entire statute is intended to be effective).

		In addition, the Board adopted the definition of "unworthy to instruct" before the adoption
of education code sections 21.058 and 21.060, which were enacted and became effective in&nbsp;2003 and
2007, respectively.  When it adopted chapter 249 of the administrative code in 1999, the Board provided
a detailed explanation for the definition of "unworthy to instruct."  See 24 Tex. Reg. 2305 (1999)
(Executive Summary for Reasoned Justification of New Chapter 249).  In its justification for the definition
of "unworthy to instruct," the Board explained that it derived the term from the former education code
section related to the suspension and cancellation of a teacher's certificate.  24 Tex. Reg. 2308 (1999);
see also Tex. Gov't Code Ann. §&nbsp;311.023(4).  It further explained that because the former code did not
define the term, the Board chose its meaning based on the term's application in prior disciplinary
decisions by the commissioner of education.  24 Tex. Reg. 2308 (1999); see also Tex. Gov't Code Ann.
§&nbsp;311.023(6) (administrative construction of statute may be considered).  Finally, the Board specifically
noted the court's holding in Marrs that "the Legislature's controlling purpose in authorizing a teacher's
certificate to be sanctioned for 'unworthiness' was to exclude 'teachers who were found to be morally
or mentally unfit.'"  24 Tex. Reg. 2308 (1999) (quoting Marrs, 270 S.W. at 588).

		Under the Board's interpretation, engaging in conduct that rises to the level of indecent
exposure is conduct that renders a person "unworthy to instruct." (8)  The ALJ made findings of fact that
Sergeant Cavazos saw Gomez rubbing his exposed penis with his hand near the dance floor and that
Gomez engaged in this public conduct with reckless disregard for whether others could see it and for
purposes of sexual gratification.  These fact findings provided a sufficient basis for the ALJ's legal
conclusion that Gomez's conduct was an act of moral turpitude, which is defined in part as "base, vile, or
depraved acts that are intended to arouse or to gratify the sexual desire of the actor."  19 Tex. Admin. Code
§&nbsp;249.3(25) (2007).  In turn, the conclusion that Gomez's conduct was an act of moral turpitude supports
the ALJ's legal conclusion that an act of moral turpitude can preclude a finding of "good moral
character," which is defined as "the virtues of a person as evidenced, at a minimum, by his or her not
having committed crimes relating directly to the duties and responsibilities of the education
profession&nbsp;.&nbsp;.&nbsp;.&nbsp;or acts involving moral turpitude."  Id. §&nbsp;249.3(19) (2007) (emphases added).  A person
who is not found to have "good moral character" fits the Marrs definition of "unworthy to instruct"
because the person is "morally&nbsp;.&nbsp;.&nbsp;.&nbsp;unfit."  270 S.W. at 588.  Thus, there was satisfactory evidence for
the Board to conclude that Gomez is "unworthy to instruct" the youth of Texas under its interpretation
of that term. (9)  See id. §&nbsp;249.15(b)(2).

		When we consider the purpose of the overall statutory scheme for regulating educators,
the history of rule 249.3, and the common law and former statutory provisions predating the rule,
we&nbsp;conclude that the Board's interpretation of "unworthy to instruct" as encompassing indecent
exposure--even without a criminal conviction--is reasonable.  Furthermore, the Board's interpretation
that the phrase "under the [Texas Education Code], Chapter 21, Subchapter B" modifies the certificate
that the person is being found unfit to hold does not contradict the plain language of the rule or the
statute.  Consequently, we will defer to the Board's interpretation of the rule.  We overrule Gomez's first
issue. (10)


Admission of eyewitness testimony

		In his second issue, Gomez challenges the admission of Sergeant Cavazos's testimony
at the December 2007 contested-case hearing because he contends that its admission violated the June
2007 order expunging records concerning his August 2003 arrest.  Gomez argues that the expunction
statute precludes a person who acquires knowledge of an arrest while a state employee and who knows
of an order expunging the records and files relating to that arrest from disseminating or using the records
or files.  See Tex. Code Crim. Proc. art. 55.04 (West 2006).  The Board responds that the expunction
order only barred the use of records and files concerning Gomez's arrest, not eyewitness testimony about
his conduct, and that it did not use prohibited materials to prepare or present its case to the ALJ.

		We review rulings on the admission or exclusion of evidence at the administrative level
under the abuse-of-discretion standard applied to trial courts.  City of Amarillo v. Railroad Comm'n of Tex.,
894 S.W.2d 491, 495 (Tex. App.--Austin 1995, writ denied).  A court abuses its discretion if it acts
without reference to guiding rules and principles.  Downer v. Aquamarine Operators, Inc., 701 S.W.2d 238,
241-42 (Tex. 1985).  We must uphold the ALJ's evidentiary ruling if there is any legitimate basis in the
record to support it.  See Owens-Corning Fiberglas Corp. v. Malone, 972 S.W.2d 35, 43 (Tex. 1998).

		The Board filed its petition in October 2006.  The expunction order was issued in June
2007, expunging any and all records "concerning the arrest on August 7, 2003."  The order provided that
a number of agencies, including the Board, were to "return all records and files concerning the arrest
to the court, or if removal is impracticable, to obliterate all references to [Gomez] and notify the court
of [their] action[s]."  The Board's petition mentioned Sergeant Cavazos by name, but did not mention
that Gomez had been arrested.  The petition also asserted essentially the same description of the incident
to which Sergeant Cavazos testified at the hearing.  Thus, it is clear from the record that before filing
the petition the Board's staff had talked to Sergeant Cavazos as part of its investigation of the incident.

		As the ALJ pointed out in the order denying Gomez's motion to exclude evidence,
Sergeant Cavazos testified at the hearing that he had not refreshed his memory from any record subject
to the expunction order, and he obeyed the ALJ's admonition not to mention any fact relating to an
arrest.  Sergeant Cavazos testified that although he could recall the date of the incident and Gomez's
name only after reviewing the Board's petition, the petition was the only document he used to refresh
his memory. The remainder of his testimony was based only on his memory of the incident.  The ALJ
made a specific finding of fact in the PFD that "Cavazos did not use any document other than those
filed&nbsp;in this docket to refresh his memory as to the date of the incident and [Gomez's] name" when
preparing to testify at the hearing.  Gomez has not pointed out any testimony which he asserts that
Sergeant Cavazos derived from any expunged record.

		As several of our sister courts have observed, "the legislature's intent in enacting the
expunction statute was not to eradicate all evidence of the conduct underlying the expunged arrest." 
Ex&nbsp;parte S.C., 305 S.W.3d 258, 266 (Tex. App.--Houston [14th Dist.] 2009, no pet.) (construing scope
of expunction statute and concluding that expunction order was broader than authorized by statute
because order included state agency's investigation records).  When considering whether to allow
Sergeant Cavazos's testimony about Gomez's conduct in this case, the ALJ relied on the holding of the
Fourth Court of Appeals in a similar case in which an appellant argued that expunction precluded
the&nbsp;agency's findings about conduct that served as the basis for her employment termination.  See
Bustamante v. Bexar Cnty. Sheriff's Civil Serv. Comm'n,  27 S.W.3d 50, 53 (Tex. App.--San Antonio
2000, no pet.).  In Bustamante, the court held that the appellant's termination was proper because
the&nbsp;agency relied on eyewitness testimony about witnesses' personal observations of the
appellant's&nbsp;conduct, not on expunged records or files.  Id. at 53-54.  We reach the same conclusion here
about&nbsp;the&nbsp;Board's revocation of Gomez's certificate.  The ALJ did not abuse her discretion by allowing
Sergeant Cavazos's eyewitness testimony.  We overrule Gomez's second issue.


Motion for leave to present additional evidence to the Board

		Gomez argues in his third issue that the district court erred by denying his motion
for&nbsp;leave to present additional evidence to the Board. (11)  See&nbsp;Tex. Gov't Code Ann. §&nbsp;2001.175(c)
(West&nbsp;2008) (providing procedure for application to reviewing court to present additional evidence to
state agency).  He also contends that the district court could properly consider evidence outside of the
administrative record of the "procedural irregularities" that he alleges occurred when the ALJ admitted
evidence that had been ordered expunged.  See id. §&nbsp;2001.175(e) (West 2008).  Section 2001.175(c)
authorizes a reviewing court to remand a case to allow additional evidence to be presented to the agency,
but only if the court is satisfied that (1) the evidence is material and (2) there were good reasons for the
failure to present it in the proceeding before the agency.  Id. §&nbsp;2001.175(c).  We review the district
court's decision about a remand request for an abuse of discretion.  See Texas Dep't of Pub. Safety v.
Story, 115 S.W.3d 588, 594 (Tex. App.--Waco 2003, no pet.); City of Port Arthur v. Southwestern Bell
Tel. Co., 13 S.W.3d 841, 844 (Tex. App.--Austin 2000, no pet.). 

		Gomez sought to present evidence to the Board of a November 2009 order, which was
entered by the same Hidalgo County District Court that had entered the 2007 expunction order.  In the
November 2009 order, the Hidalgo County District Court determined that the Texas Education Agency
(TEA) had not complied with the 2007 expunction order and ordered TEA to return "all records and
files concerning the arrest of [Gomez] to the Court."  The order reflects that TEA turned over its records
at the November 2009 Hidalgo County District Court hearing.  Nothing in the November 2009 order
indicates that the Hidalgo County District Court found that Sergeant Cavazos's testimony at Gomez's
contested-case hearing violated its 2007 expunction order.

		Gomez is correct that the district court could have considered evidence outside the
record&nbsp;had he alleged that a procedural irregularity not reflected in the agency record occurred in
the&nbsp;agency proceedings.  See&nbsp;Tex. Gov't Code Ann. §&nbsp;2001.175(e).  Gomez has failed to allege this
type&nbsp;of procedural irregularity here, however, contending instead that a procedural irregularity
occurred&nbsp;when&nbsp;the ALJ admitted evidence that had been ordered expunged--presumably referring to
Sergeant Cavazos's testimony.  The ALJ's admission of Sergeant Cavazos's testimony is a matter fully
documented within the agency record; thus, the district court properly did not consider evidence outside
the record when reviewing the Board's decision.

		In addition, the district court acted within its discretion by declining to remand this case
to the Board to enable Gomez to present the November 2009 order to it.  Gomez failed to satisfy at least
one of the conditions required for remand because he did not explain in his motion how the additional
evidence (the November 2009 order) is material.  See id. §&nbsp;2001.175(c).  Gomez's argument that the
Board used expunged records rests on his contention that Sergeant Cavazos's testimony was improper
because he acquired knowledge of the arrest while a state employee and knew of the expunction order. 
But as we determined above, the Board could properly present Sergeant Cavazos's testimony because
it was based on his personal knowledge of the incident.  See Bustamante, 27 S.W.3d at 53-54.  Gomez
has never identified any specific evidence relied upon by the Board that he asserts came solely from the
expunged records (as opposed to being contained in the Board's own investigation records). (12)  We have
upheld the ALJ's finding that Sergeant Cavazos did not rely on expunged records to refresh his memory. 
Without a showing that the Board actually used the expunged records, the Board's retention of the
expunged records is immaterial. (13)  We overrule Gomez's third issue.

		

CONCLUSION

		Having overruled all of Gomez's issues on appeal, we affirm the district
court's&nbsp;judgment.


						__________________________________________

						Diane M. Henson, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Affirmed

Filed:   November 23, 2011
1.   Gomez styled his suit for judicial review and this appeal as "Gilbert Gomez v. Texas
Education Agency and Robert Scott, Commissioner of Education, in his Official Capacity," but the
Texas Education Agency (TEA) asserts that Mr. Scott is not a proper party because the Board, not
the TEA, rendered the final order in this case.  TEA staff provides administrative functions and
services to the Board, see Tex. Educ. Code Ann. §&nbsp;21.035 (West Supp. 2010), but the TEA did not
revoke Gomez's educator certificate.
2.  The facts recited herein are taken from the testimony and exhibits admitted at the contested-case hearing.
3.   Since Gomez's contested-case hearing occurred, the Board has amended this rule and some
other rules to which we will refer.  When there has been no substantive change to the rule or its
relevant portions, as with this rule, we will refer to the current rules for convenience.  We will cite
to the prior rule when a substantive amendment has occurred.
4.   Gomez's contested-case hearing was held before the ALJ on December 6, 2007.  The ALJ
issued the PFD on February 14, 2008.  The Board had proposed amendments to the rules earlier in
2007, and the amended rules became effective December 16, 2007.  See 32 Tex. Reg. 9112 (2007)
(to be codified at 19 Tex. Admin. Code §&nbsp;249.3) (proposed August 31, 2007) (State Bd. for Educator
Certification).  The definitions of "good moral character," "moral turpitude," and "unworthy to
instruct" were not substantively changed by this amendment, but they were renumbered.  See 32 Tex.
Reg. 5608 (2007), adopted 32 Tex. Reg. 9112 (2007).  Throughout this opinion, we refer to section
249.3 as amended effective December 16, 2007 to conform with the ALJ's references in the PFD.
5.   Finding of fact number 6 states that "[w]hen he approached the dance floor, Sgt. Cavazos
saw [Gomez] rubbing on his exposed penis with his hand."  Finding of fact number 7 states that
"[o]n August 3, 2003, [Gomez] exposed his penis in public with reckless disregard as to whether
others could see it and for purposes of sexual gratification." 
6.   The Board also sought to revoke Gomez's certificate on the grounds that his conduct
demonstrated that he "is a person who conducted school or education activities in violation of law"
and had "violated provisions of the educator's code of ethics, including&nbsp;.&nbsp;.&nbsp;.&nbsp;Standard 1.7 (failing to
comply with state regulations, written local school board policies, and other applicable state and
federal laws)."  See 19 Tex. Admin. Code §&nbsp;249.15 (2011) (State Bd. for Educator Certification,
Disciplinary Action by State Bd. for Educator Certification).  The ALJ found that Gomez's conduct
"did not involve: a student or minor; school activities or property; controlled substances; professional
advancement; or other educators, nor did it result in a criminal conviction or adjudication of guilt
under criminal law."  She also concluded that the Board "failed to show that Respondent's conduct
violated a state regulation or written local school board policy" and that neither the Board nor SOAH
had jurisdiction to decide whether Gomez's conduct violated the only pertinent state or federal law,
penal code section 42.01(10).  See&nbsp;Tex. Penal Code Ann. §&nbsp;42.01(10) (West 2011) (reckless
exposure of anus or genitals in public place).  The Board adopted this finding and these conclusions
in its final decision and order.
7.   Gomez argues that if the legislature had intended to adopt the definition of "unworthy to
instruct" contained in Marrs, there would have been no need to pass sections 21.058 and 21.060 of
the education code.  But the legislature's provision of certain minimum standards does not show that
it intended those sections to be the only grounds for the Board to find that an educator is unworthy
to instruct and revoke his certificate.  Section 21.058 provides for mandatory certificate revocation
within five days of when the Board receives notice that a person has been convicted of a felony
offense under title 5 of the penal code or an offense that requires the defendant to register as a sex
offender under chapter 62 of the code of criminal procedure, and the victim of the offense is under
18 years of age.  Tex. Educ. Code Ann. §&nbsp;21.058(a) (West 2006); see also Tex. Penal Code Ann.
§§&nbsp;19.01-22.12 (West 2011) (establishing offenses against the person, including criminal homicide,
kidnapping, trafficking of persons, sexual offenses, and assaultive persons); Tex. Code Crim. Proc.
Ann. arts. 62.001-.408 (West 2006 &amp; Supp. 2010) (establishing sex offender registration program). 
Under these circumstances, certificate revocation is mandatory, "[n]otwithstanding Section
21.041(b)(7)," which establishes that the Board must provide for disciplinary proceedings to revoke
a certificate.  Id. §&nbsp;21.058(b).  Section 21.060 provides the Board with authority to revoke the
certificate of a person who has been convicted of certain felony or misdemeanor offenses "relating
to the duties and responsibilities of the education profession, including" but not limited to the
list&nbsp;provided in the statute.  Id. §&nbsp;21.060 (West Supp. 2010).  By providing the Board with a
nonexclusive list of offenses for which it has discretionary authority to revoke a certificate after an
educator's conviction and mandating it to revoke a certificate without a disciplinary proceeding after
certain other convictions, the legislature merely simplified the disciplinary process in certain cases.
8.   The Board's rules regarding investigations provide further support for the Board's
interpreting "unworthy to instruct" as encompassing acts of moral turpitude even without an
accompanying criminal conviction.  Section 249.14 provides that the TEA staff, which provides
administrative support to the Board, may set priorities for the investigation of complaints based on
the severity and immediacy of the allegations and the likelihood of harm.  19 Tex. Admin. Code
§&nbsp;249.14(g) (2011) (State Bd. for Educator Certification, Complaint, Required Reporting, and
Investigation; Investigative Notice; Filing of Petition).  All cases accepted for investigation must be
placed in one of two priority groups.  Id.  Indecent exposure has been included in the "Priority 1"
category of "conduct that indicates a risk to the health, safety, or welfare of a student or minor,
parent of a student, fellow employee, or professional colleague" since section 249.14's adoption in
1999.  Id.
9.   Gomez has not presented an issue challenging whether substantial evidence supports the
Board's decision to revoke his certificate.  Compare Tex. Gov't Code Ann. §&nbsp;2001.174(2)(E) with
id. §&nbsp;2001.174(2)(F); see City of Waco v. Texas Comm'n on Envtl. Quality, 346 S.W.3d 781, 818
n.20 (Tex. App.--Austin 2011, pet. filed) (noting difference between term "substantial-evidence
review" being used in broad sense as shorthand reference to entire scope of review under APA and
in narrower sense meaning only determination of whether order is reasonably supported by
substantial evidence considering reliable and probative evidence in whole record).  To the extent his
argument that the Board had no basis for imposing discipline against him could be construed as a
substantial-evidence argument (in the narrower sense of the term), we presume that the Board's order
is supported by substantial evidence, and Gomez bears the burden of proving otherwise.  See Texas
Health Facilities Comm'n v. Charter Med.-Dallas, Inc., 665 S.W.2d 446, 453 (Tex. 1984).  At the
contested-case hearing, Gomez offered no evidence that he did not engage in the alleged conduct
other than his own testimony, which was controverted by Sergeant Cavazos's testimony.  The ALJ,
as factfinder, determines the credibility of witnesses and the weight of their testimony.  Granek v.
Texas State Bd. of Med. Exam'rs, 172 S.W.3d 761, 778 (Tex. App.--Austin 2005, no pet.).  If there
is some reasonable basis in the record for the Board's decision, we will uphold it even if the evidence
preponderates against it.  Charter Med., 665 S.W.2d at 452.  Thus, if the evidence would support
either affirmative or negative findings, we must uphold the Board's decision.  Id. at 453.  We
conclude that substantial evidence supports the Board's decision to revoke Gomez's certificate. 
10.   The Board contends that Gomez waived the issue of whether the Board committed error
by rejecting the ALJ's recommendation that there was no basis to discipline him because he failed
to raise it in his petition to the district court for judicial review.  Gomez raised the issue of whether
the Board erred by finding a basis to impose discipline against him, but the Board contends this is
a different issue (although we note that the Board necessarily rejected the ALJ's recommendation
by finding a basis to impose discipline).  We will assume without deciding that Gomez preserved
error on the issue because we have concluded that the Board did not err by rejecting the ALJ's
recommendation and finding a basis to impose discipline against Gomez. 

11.   The district court did not issue an order denying the motion, which Gomez filed on
November 30, 2009, six days after the court conducted the hearing on his petition for judicial review. 
The final judgment affirming the Board's decision was signed December 3, 2009, and stated that "all
remedies not specifically granted herein are denied."
12.   Gomez asserts that if the Board had complied with the expunction order, it would not have
had Sergeant Cavazos's name.  But the Board had begun conducting its own investigation well
before the expunction order was issued in 2007.  It filed its petition, which contained Sergeant
Cavazos's name, in October 2006.  See Ex parte S.C., 305 S.W.3d 258, 266 (Tex. App.--Houston
[14th Dist.] 2009, no pet.) (holding expunction order compelling agency to turn over its own
investigative files and records, instead of only records relating to arrest, was overly broad). 
13.   As the Board points out, it is also questionable whether Gomez could demonstrate that
there were good reasons for his failure to present the "additional evidence" in the proceeding before
the agency.  See Tex. Gov't Code Ann. §&nbsp;2001.175(c) (West 2008).  While it is true that he did not
obtain the order until November 2009, the contested-case hearing occurred in December 2007.
Gomez did not explain in his motion what caused him to wait until November 2009 to seek an order
from the Hidalgo County District Court that the Board had violated the expunction order.  The Board
did not present any new evidence in the district-court proceeding for review of its final order.  And
at the contested-case hearing, as well as in his exceptions to the PFD and his motion for rehearing,
which he filed in March 2008 and November 2008, Gomez made the same contention that he makes
here about the Board's alleged violation of the expunction order.  He argued during the proceeding
before the Board that the Board would not have had Sergeant Cavazos's name and other details about
the incident if it had returned or destroyed all arrest records, so it is unclear why he waited until 2009
to seek an order from the Hidalgo County District Court that the Board violated the expunction
order.


